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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF INDIANA
                                   INDIANAPOLIS DIVISION

  UNITED STATES OF AMERICA,                          )
                                                     )
                               Plaintiff,            )
                                                     )
                          v.                         )         No. 1:16-cr-00123-TWP-DML
                                                     )
  RAFAEL ROJAS-REYES,                                )   -01
  HECTOR SAUL CASTRO-AGUIRRE                         )
     a/k/a CHAPITO                                   )
     a/k/a CHAPO,                                    )   -07
  JOHN RAMIREZ-PRADO,                                )   -10
  JOSE MANUEL CARRILLO-TREMILLO                      )
     a/k/a MECHE,                                    )   -15
                                                     )
                               Defendants.           )

                       MINUTE ENTRY FOR AUGUST 9, 2018
                HONORABLE TANYA WALTON PRATT, DISTRICT JUDGE

         This matter was before the Court for the third day of trial by jury at the Indianapolis

  Courthouse.   The Government appeared by Assistant United States Attorney Bradley A.

  Blackington. Matthew Holbrook and Eric Sills attended as agents for the Government. Defendant

  Rafael Rojas-Reyes appeared in person, in custody, and by CJA counsel Richard L. Ford.

  Defendant Hector Saul Castro-Aguirre appeared in person, in custody, and by CJA counsel

  Andrew J. Borland. Defendant Jose Manuel Carrillo-Tremillo appeared in person, in custody, and

  by CJA counsel Mario Garcia. Elizabeth Sanchez and Maria Conde-Barwise served as Spanish

  interpreters. The Court Reporter was David Moxley.

         The Government continued presentation of its case-in-chief. Testimony was presented

  from the following witnesses: Brittany Raper, John Yoo, Jorge Ramos, Selim Senel, Mark

  Quintanilla, Yesenia Samaniego, and Phillip Bernal. Exhibits 2004A, 2013, 771, 15, 9, 772, 773,

  774, 775, 776, 777, 778, 779, 780, 2831, 2832, 2833, 2834, 2835, 201, 7, 301, 8, 315, 401, 501,
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  734, 735, 736, 737, 738, 739, 740, 741, 742, 743, 744, 745, 746, 747, 601, 612, 613, 11, 13, 2102,

  701, 801, and 18 were admitted into evidence.

          The jury was admonished and instructed to return at 9:00 a.m., Friday, August 10, 2018,

  for continuation of the trial.

          Parties were instructed to return at 9:00 a.m., Friday, August 10, 2018.

          Court was recessed for the day.


          Date: 8/10/2018



  Distribution:

  Bradley A. Blackington
  UNITED STATES ATTORNEY'S OFFICE
  bradley.blackington@usdoj.gov

  Andrew J. Borland
  LAW OFFICE OF ANDREW BORLAND
  ajb@indianapolisdefense.com

  Larry R. Champion
  MEILS THOMPSON DIETZ & BERISH
  lchampion@meilsattorney.com

  Richard L. Ford
  ATTORNEY AT LAW
  rlfatty@gmail.com

  Mario Garcia
  BRATTAIN MINNIX GARCIA
  mario@bmgindy.com

  M. Kendra Klump
  UNITED STATES ATTORNEY'S OFFICE
  kendra.klump@usdoj.gov

  Terry Wayne Tolliver
  BRATTAIN MINNIX GARCIA
  terry@brattainminnix.com
